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Dear Judge Caproni:

I am writing with great respect and urgency to request the consideration of bail for my husband,
Oren Alexander. I understand the gravity of the situation and do not take this request lightly.
However, I hope you will take into account the circumstances we are facing and the kind of man my
husband is.

Oren and I have been together for seven wonderful years, and during that time, I have known him as
an incredibly loving, responsible, and hardworking individual. He is the cornerstone of our family—a
devoted husband and now a father. He always puts others ﬁrst, working tirelessly to provide
emotional and ﬁnancial support for us. His absence has left a signiﬁcant void in our lives.

Just a week ago, I gave birth to our beautiful ﬁrst child. While this should have been a joyful and
exciting time, it has been extremely di icult without my husband by my side. The emotional and
physical challenges of caring for a newborn alone are overwhelming. As a new mother, I am doing
my best to manage everything, but without Oren’s support, it has been incredibly hard. His
presence during these critical ﬁrst weeks of our child’s life is essential for both of us, and his
absence is deeply felt.

I have lived in the United States for almost 15 years and obtained my residency independently two
years ago. My husband, Oren, and I are fully committed to building our family’s future here, where
we have a stable home and strong personal ties. I am not yet a U.S. citizen and I have no intention of
leaving the country or risking the residency status that I dedicated over 10 years to achieving.

To further clarify, although I was born in Brazil, I left 15 years ago and have no signiﬁcant
connections or reason to ever return. Oren has no ties to Brazil—we are not married there, and his
entire life is based in the U.S. Also I am not Jewish, was not born in Israel, and have no personal or
cultural ties to the country by any means. Our life is focused entirely on staying in the United States.

We are raising our newborn child here, and all of our e orts are focused on maintaining a stable,
happy life in the U.S. Oren has no history or intention of ﬂeeing the country. Given my long-term
residency, our family’s commitment to life in the U.S., and the absence of any ties or intentions
abroad, there is no risk of ﬂight for Oren. He has every reason to remain here and continue providing
for our family.

In light of these circumstances, I respectfully request your compassion in considering bail. I am
fully committed to ensuring Oren’s compliance with any conditions imposed by the court. I am
prepared to provide my passport our child birth certiﬁcate or sign any necessary documents to
demonstrate my commitment. I can assure you that my husband poses no risk to public safety, and
his presence at home is crucial to our family’s well-being.

Oren is a man of integrity, and I believe his actions during this challenging time would reﬂect his
strong character. We understand the importance of respecting the legal process and will abide by
any stipulations required by the court. I sincerely ask for your understanding and leniency, as we are
doing our best to navigate this di icult situation as a family.
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If any additional information or documentation is needed, I will gladly provide it. Thank you very
much for your time and consideration. I remain hopeful that Oren will have the opportunity to return
to us during this crucial time and fairly ﬁght his case while being with his family.

With sincere respect and gratitude,


Kamila Alexander
